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                  11   Attorneys for Lineage Bank
                  12                   UNITED STATES BANKRUPTCY COURT
                  13                    CENTRAL DISTRICT OF CALIFORNIA
                                         SAN FERNANDO VALLEY DIVISION
                  14

                  15   In re:                             Case No. 1:24-bk-10646-MB
                  16   SYNAPSE FINANCIAL
                       TECHNOLOGIES, INC.,                Chapter 11
                  17
                       Debtor and Debtor in Possession.   LINEAGE BANK’S LIMITED
                  18
                                                          OBJECTION AND RESERVATION
                  19                                      OF RIGHTS WITH RESPECT TO
                                                          CHAPTER 11 TRUSTEE’S BIDDING
                  20
                                                          PROCEDURES MOTION
                  21
                                                          Hearing: October 15, 2024, 1:00 p.m.
                  22                                      Place: U.S. Bankruptcy Court, Courtroom 303
                  23                                      21041 Burbank Boulevard
                                                          Woodland Hills, CA 91367
                  24

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S TRADLING Y OCCA
C ARLSON & R AUTH
     LAWYERS
    LOS ANGELES
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                   1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
                   2   BANKRUPTCY JUDGE, AND ALL PARTIES IN INTEREST:

                   3         By this Limited Objection and Reservation of Rights, Lineage Bank
                   4   (“Lineage”) asserts that the Trustee’s proposed timetable for disclosing any asset
                   5   purchase agreement (“APA”) that includes specific lists of Purchased Assets and
                   6   Excluded Assets does not afford Lineage and other parties in interest with
                   7   adequate notice and sufficient time to review and comment upon such APA.
                   8         Specifically, the Trustee’s Bidding Procedures Motion provides for an
                   9   auction to be conducted on November 15, requests that any objections to the sale
                  10   be filed no later than November 18, and requests the Court to conduct a sale
                  11   hearing on November 20. However, the Bidding Procedures Motion does not
                  12   propose a deadline by which the Trustee must file or otherwise disclose to
                  13   interested parties the APAs of the Winning Bidder and any Winning Back-up
                  14   Bidder. Instead, the Sale Motion merely recites that the Trustee “will make every
                  15   effort to file with the Court prior to the hearing on November 20, 2024, and after
                  16   the Auction on November 15, 2024, a supplement to his Motion describing the
                  17   outcome of the Auction, and filing a copy of the APA of the Winning Bidder, a
                  18   copy of the APA with the Winning Back-up Bidder and a proposed Sale Order.”
                  19   Sale Motion, @ p. 1.
                  20         While Lineage has no doubt that the Trustee will use her best efforts to
                  21   disclose the APA to interested parties as soon as possible, Lineage submits that the
                  22   proposed timeline should be modified to guarantee interested parties an adequate
                  23   and reasonable time period in which to receive and review the APAs with the
                  24   Winning Bidder and any Winning Back-up Bidder, and to file an objection if
                  25   warranted. Lineage respectfully requests that interested parties be afforded at least
                  26   five (5) business days’ notice of the Trustee’s APAs with the Winning Bidder and
                  27   any Winning Back-up Bidder, in advance of any fixed deadline for the filing of
                  28   objections to the sale.
S TRADLING Y OCCA
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                   1        Lineage reserves all rights with respect to any and all matters or issues
                   2   raised or that could be raised with respect to the Bidding Procedures Motion and
                   3   the Sale Motion, including the right to be heard and object at any hearing on the
                   4   Motions.
                   5                                       Conclusion
                   6        Lineage requests that the Court grant the relief and respect the reservations
                   7   of rights described in this Limited Objection and Reservations of Rights.
                   8

                   9   Dated: October 14, 2024
                  10

                  11                             Respectfully submitted,
                  12                             BRADLEY ARANT BOULT CUMMINGS LLP
                  13                                                       and
                  14                             STRADLING YOCCA CARLSON & RAUTH, LLC
                  15
                                                 By: /s/ Paul Glassman
                  16
                                                      Paul Glassman
                  17                             Attorneys for Lineage Bank
                  18

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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                            10100 N. Santa Monica Blvd, Suite 1450, Los Angeles, CA 90067

A true and correct copy of the foregoing LINEAGE BANK’S LIMITED OBJECTION AND RESERVATION OF RIGHTS
WITH RESPECT TO CHAPTER 11 TRUSTEE’S BIDDING PROCEDURES MOTION will be served or was served (a) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
14, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

            See Attached Service List

                                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On October 14, 2024 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows:

            See Attached Mailing List

                                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 14, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows:

VIA FEDERAL EXPRESS
The Honorable Martin R. Barash
United States Bankruptcy Court, Central District of California
San Fernando Valley Division
21041 Burbank Boulevard, Suite 342 / Courtroom 303
Woodland Hills, CA 91367



                                                                                                  Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  October 14, 2024                               Suzanne Johnson                                   /s/ Suzanne Johnson
  Date                                           Printed Name                                      Signature




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                                  F 9013-3.1.PROOF.SERVICE
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